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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-02256
               Plaintiff,
                                                   Judge Rebecca R. Pallmeyer
v.
                                                   Magistrate Judge Sunil R. Harjani
1EVOLVE2016, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                 Defendant Name                                  Line No.
                 2010bettertogether                                  2
                        4ez-shop                                     3
                       auto-limo                                    16
                       bhy-shop                                     23
                        bijiaauto                                   26
                    carpartscenter                                  31
                   darzoumall007                                    39
                      junmaioo-7                                    64
                 ledfactoryshop-lfs                                 67
                      livingcloud                                   68
                     lucky2016m                                     70
                    motorautopart                                   80
                  powersportcycle                                   91
                       primeno1                                     92
                professional_motors                                 93
                      qinlinlin17                                   94
                         shfbest                                    99
                     shunkun168                                    101
                   topvehicleparts                                 112
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                wholesalecarparts                              120


Dated this 13th day of May 2019.     Respectfully submitted,


                                     /s/ Justin R. Gaudio
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     RiKaleigh C. Johnson
                                     Greer, Burns & Crain, Ltd.
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                                     Chicago, Illinois 60606
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